CaSe 2:05-cv-02175-.]PI\/|-tmp Document 12 Filed 06/07/05 Page 1 of 5 F’age|D~;Ql

R\WW/‘\ - lm- IN THE uNITED sTATEs DISTRICT CouRT

1 _`\ -\\ ron THE wEsTERN olsTRICT oF TENNESSEE , '_ f mr d
05 JUH)‘-zl PH 3: 26 WESTERN DIvlsIoN `_ g h ` / 1 h d
HOEE:E;T '~31. L.» '3"£"4@ l{] /

 

arena us near c_:T.
WD- GF®N’A§SW‘HLIOT and KATHLEEN ELLIOT

)
)
Plaimirfs, ) NO. 05-2175-Ma P
) .
"' § Morlow GRANTED H__ q
1 ., f""` .'»" l Vl"-"_* '
FIRST TENNESSEE BANK, N.A. ) L':";M‘°`C‘°‘W"E”l“'
) JUN>_ 3 5 mcf
Defendant. ) DATE m

 

AGREED MOTION FOR EXTENS[ON OF TIME 'I`O RESPOND TO COMPLAINT

 

Defendant, First Tennessee Bank National Association ("First Tennessee"), respectfully
moves the Court for an extension of time to respond to the Comp|aint f`lled in this cause, and
states as follows:

Counsel for Plaintit`fs and counsel for First Tennessee have agreed, subject to the Coun's
approval, that First Tennessee may have until April ll, 2005 to respond to the Cornplaint.
Counsel's Certif`lcate of Consultation is attached to, and by referenced made a part ol“, this
Motion.

Respectfull}j submitted,

MR"K LovER(aso?)
` ST Es(21012)
BAKE`, oNELSoN,BEARMAN,
CALDWELL & BERKOWITZ, P.C.

165 Madison Avenue, Suite 2000
Memphis, TN 38103

Cum¢.>e¢`_;f)r F:`rs'r Te'rmessee Bunic lvummai
Associa!fon

M .IBS 866553 vt 1
2100000_[507943 03/23/05 Th:e document entered on the docket sheet in comp

Witl'\ Rule 58 and/or 79{a) FHCP on ‘ ’ *

Hance

 

Case 2:05-cv-O2175-.]PI\/|-tmp Document 12 Filed 06/07/05 Page 2 of 5 Page|D 30

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been provided
to the following counsel of record via U.S. Mail_. postage prepaid, this the 13 'Z day of March,

2005:

M JBS 866553 vl
2100000-[307943 031'231'05

Howard B. Manis, Esq.

Jason G. Wolfkill, Esq.

80 Monroe Avenue, Suite G-]
Memphis, TN 38103

Comisel for Donald Elfiof and Kath[eerr E"Niol_\_

1 1

/ .
//
_/M,. l .
f
1/11" '

`,`

1 /;'
1_\`/ \

Case 2:O5-cv-O2175-.]P|\/|-tmp Document 12 Filed 06/07/05 Page 3 of 5 Page|D 31

lN THE UNITED STATES DISTRJCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

DONALD ELLIOT and KATHLEEN ELLIOT
Plaintiffs, No. 05-2]75-Ma P

V.

FlRST 'l`ENNESSEE BANK, N.A.

\_/\_/\_,/\_/\._/\.-/\_/\_/\-»/

Defendant.

 

CERTIFICATE OF CONSUL'I`ATION

 

I, John Stames, counsel for Defendant, First Tennessee Bank National Association ("First
Tennessee"), hereby state that on March 23, 2005, l conferred with Howard B. l\/lanis, counsel
for Plaintiffs, regarding First Tennessee's l\/lotion for Extension of Tirne to Respond to
Complaint, and he advised that he consents to the Motion.

Respectfully submitted,

R. MAle< ' ov R (6807)
dolan sTAR (21012)
BAKER, DoNELsoN, BEARMAN,
CALDWELL & BERKOWITZ, P.C.
165 Madison Avenue, Suite 2000
MemphiS,TN 33103

   

 

Cozmselfor First Tennessee Bank Narional
Associarion

M JBS 866558 vl
2100000-}30'."943 031'23/05

Case 2:O5-cv-O2175-.]P|\/|-tmp Document 12 Filed 06/07/05 Page 4 of 5 Page|D 32

CERTIF[CATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing document has been provided
to the following counsel of record via U.S. l\/lail, postage prepaid, this the 23 day of l\/larch,

2005:

M JBS 866558 vl
2100000-B07943 03/231'05

Howard B. Manis, Esq.

Jason G. Woltkill, Esq.

80 Monroe Avenue, Suite G-l
Memphis, TN 38103

Counset'for Donald Eflr'ot ti`m;t Kalhleej Elliot
:/ //
F\@W,
.\\\\‘_) st /

t/

TsTEsleTRIT OURT - WESENTR ISRTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02175 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

John B. Starnes

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

R. Mark Glover

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Jason G. Wolfkill
BOROD & KRAMER
80 Monroe Ave.

Ste. Gl

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

